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Gmail David Tom <david.m.tom@gmail.com>

 

National Do Not Call Registry - Your Registration Is Confirmed

1 message

 

Verify@donotcall.gov <Verify@donotcall.gov> Tue, May 24, 2022 at 7:22 PM
To: david.m.tom@gmail.com

Thank you for registering your phone number with the National Do Not Call Registry. You successfully registered your
phone number ending in 0760 on June 28, 2003. Most telemarketers will be required to stop calling you 31 days from
your registration date.

Visit hitps:/(www.donotcall.gov to register another number or file a complaint against someone violating the Registry.

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Please do not reply to this message as it is from an unattended mailbox. Any replies to this email will not be responded to
or forwarded. This service is used for outgoing emails only and cannot respond to inquiries.

 

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